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                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY

   CHAMBERS OF                                                               UNITED STATES DISTRICT COURT
HAROLD A. ACKERMAN                                                               POST OFFICE BOX 999
   SENIOR JUDGE                                                              NEWARK, NEW JERSEY 07101-0999




                                                August 13, 2008



      RE:    United States v. Delle Donna, Criminal No. 07-784


      TO ALL COUNSEL OF RECORD


      Dear Counsel:

            Sentencing in this matter is scheduled for September 4, 2008, at 11:00am. The
      Government and Defendants must file any sentencing memoranda no later than August 25, 2008.




                                                SO ORDERED


                                                /s/ Harold A. Ackerman
                                                U.S.D.J.
